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UNITED STATES DISTRICT COURT ee
EASTERN DISTRICT OF WISCONSIN

—_ — - pie |

UNITED STATES OF AMERICA,

Plaintiff, 2 3- CR - 07 7

Vv. Case No. 23-CR-
RONNELL BOWMAN, SEALER REDACTED COPY
MICHAEL ANDERSON, [18 U.S.C. §§ 2(a), 371, 1341,.1349,
JOEL BLAKE, 922(g)(1), 922(g)(2), 924(a)(2),
BYRON CLAYPOOL, 924(a)(8), 924(c), 924G) & 1958; 21
ee U.S.C. §§ 841(a)(1), 841(b)(1)(C), &
JAVONTE COTTON, 841(b)(1)(D)]
LADARIUS DAVIS-HUGHES,
a
LARRY ECHOLS,
DEMETRIUS EXUM,
LARRY HAMILTON,
VERNELL HAMILTON,
—EEEE
AKEEM HUDSON,
RONNIE JACKSON,

CALVIN KIDD,
MARCUS MALBRO,
DEAUTRIS MATTISON,
QUEVON MCKINNIE,
CHASE NANEZ,
ANDREW PORTIS,
MAURICE RITTMAN,
RAMON SAVAGE,
TIMOTHY SCOTT,
KEORIE SMITH,
KEJUAUN THOMAS,
LAWRENCE TURNER,
CHAZZ WHITE,
JALEN WILLIAMS, and
JAQUAN WRIGHT,
Defendants.

INDICTMENT

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THE GRAND JURY CHARGES THAT:

Background Allegations

At times material to this Indictment:

1. The “Wild 100s,” a/k/a “Shark Gang,” a/k/a “SNG,” was a street gang
operating in the Milwaukee, Wisconsin area. The defendants herein, who are all
members and affiliates of the “Wild 100s,” a/k/a “Shark Gang,” a/k/a “SNG,” engaged
in various criminal activities, including crimes of violence, illegal firearms possession,
drug distribution, conspiracy, and fraud in Milwaukee and elsewhere.

2. Unemployment Insurance (“UI”) is a joint state and federal program
overseen by the U.S. Department of Labor that provides monetary benefits to eligible
beneficiaries. UI payments are intended to provide temporary financial assistance to
lawful workers who are unemployed through no fault of their own. Beginning in or
around March 2020, in response to the COVID-19 pandemic, several federal programs
expanded UI eligibility and increased UI benefits, including the Pandemic
Unemployment Assistance Program (“PUA”), Federal Pandemic Unemployment
Compensation (“FPUC”), Pandemic Emergency Unemployment Compensation
(“PEUC”), and the Lost Wages Assistance Program (“LWAP”). These funds were
distributed to the states’ UI programs from the United States Department of the
Treasury.

3. In the State of California, the Employment Development Department
(“EDD”) based in Sacramento, California, administers the state’s UI program. Those
seeking UI benefits from the EDD submit online applications. Applicants must

answer specific questions to establish eligibility to receive UI benefits, including their
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name, Social Security Number (“SSN”), and mailing address, among other things.
Applicants also must self-certify that they met a COVID-19-related reason for being
unemployed, partially employed, or unable to work. The EDD relies upon the
information in the application to determine eligibility for UI benefits. Once an
application is approved, the EDD typically distributes state and federal UI benefits
electronically to a debit card in the claimant’s name, which the claimant can use to
withdraw funds and make purchases. These debit cards are sent via the U.S. Postal
Service to the address the claimant provides. Claimants can activate their debit card
via telephone or online.

4. Individuals filing for COVID-19 PUA benefits transmitted all required
information via computer, cellular device, and other mobile electronic device.
5. A PUA application required individualized attestations that the

information was true and correct, as well as ongoing weekly certifications attesting

to continued unemployed status and job-seeking activities.

COUNT ONE
(Mail Fraud Conspiracy)

The Conspiracy and its Object

6. Beginning in or about August 2020, and continuing through in or about

February 2022, in the State and Kastern District of Wisconsin and elsewhere,

RONNELL BOWMAN,
MICHAEL ANDERSON,
JOEL BLAKE,
BYRON CLAYPOOL,
ee
JAVONTE COTTON,
LADARIUS DAVIS-HUGHES,

a
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LARRY ECHOLS,
DEMETRIUS EXUM,
LARRY HAMILTON,

VERNELL HAMILTON,
AKEEM HUDSON,
RONNIE JACKSON,
CALVIN KIDD,
MARCUS MARLBRO,
DEAUTRIS MATTISON,
QUEVON MCKINNIE,
CHASE NANEZ,
ANDREW PORTIS,
MAURICE RITTMAN,
RAMON SAVAGE,
TIMOTHY SCOTT,

KEORIE SMITH,

KEJUAUN THOMAS,
LAWRENCE TURNER,
CHAZZ WHITE,
JALEN WILLIAMS, and
JAQUAN WRIGHT

knowingly conspired with each other and others, known and unknown to the Grand
Jury, to devise a scheme to defraud the United States Department of Labor by means
of materially false and fraudulent pretenses, and for the purpose of executing that
scheme, caused mail matter to be sent by the Postal Service, in violation of Title 18,
United States Code, Section 1341.

Manner and Means of the Conspiracy

a In order to accomplish the purpose of the conspiracy, the defendants
used, and caused others to use, the following manner and means:

a. The defendants communicated about and taught each other how to
submit fraudulent PUA claims to California EDD and other state UJ programs
through social media platforms.

b. In some instances, the defendants obtained the personal identifiable
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information (“PII”) of unwitting third parties and submitted fraudulent PUA claims
to California EDD and other state UI programs.

i In other instances, the defendants solicited willing participants with
whom they agreed to charge a fee, usually a portion of the PUA benefits obtained on
the claimant's behalf, to obtain PUA benefits in the claimant’s name.

d. The defendants electronically submitted applications to multiple states
on behalf of themselves and others, in which they made materially false and
fraudulent representations.

e. The defendants’ materially false and fraudulent representations caused
California EDD and other states to award PUA funds in the claimants’ names
through pre-loaded debit cards mailed to various locations, both in and outside the
Eastern District of Wisconsin.

f. Using the debit cards they obtained under false pretenses, the
defendants withdrew cash from automatic teller machines (“ATMs”) located in the
Eastern District of Wisconsin and elsewhere.

g. The defendants used the PUA funds they fraudulently obtained to
purchase, among other things, firearms, controlled substances, jewelry, clothing,
vacations, and to solicit murder for hire.

h. As a result of the conspiracy, the defendants fraudulently obtained
millions of dollars of federal PUA benefits from California EDD and other state-
administered UJ programs to which they were not entitled.

All in violation of Title 18, United States Code, Sections 1349 and 2(a).

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COUNTS TWO through TWENTY SIX
(Mail Fraud)

THE GRAND JURY FURTHER CHARGES THAT:
11. Beginning in or about August 2020 and continuing through in or about

February 2022, in the State and Eastern District of Wisconsin and elsewhere,

RONNELL BOWMAN,
MICHAEL ANDERSON,
JOEL BLAKE,
BYRON CLAYPOOL,
ee
JAVONTE COTTON,
LADARIUS DAVIS-HUGHES,
a
LARRY ECHOLS,
DEMETRIUS EXUM,
LARRY HAMILTON,
VERNELL HAMILTON,
AKEEM HUDSON,
CALVIN KIDD,
MARCUS MARLBRO,
DEAUTRIS MATTISON,
CHASE NANEZ,
ANDREW PORTIS,
MAURICE RITTMAN,
RAMON SAVAGE,
TIMOTHY SCOTT,
KEORIE SMITH,
LAWRENCE TURNER,
CHAZZ WHITE,
JALEN WILLIAMS, and
JAQUAN WRIGHT

knowingly devised and participated in a scheme to defraud the United States
Department of Labor by means of materially false and fraudulent pretenses and

representations.

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12.

The Scheme to Defraud

The essence of the scheme was to fraudulently obtain Ul payments by

means of submitting false applications to the departments within the states that

administered their UI] programs.

13.

Execution of the Scheme to Defraud

For the purpose of executing the scheme to defraud, on or about the

dates specified below, each of the following defendants knowingly caused to be

delivered by United States mail the following:

Count | Defendant(s) Date Description of mailing
RONNELL | . An envelope containing a PUA debit card delivered to XXXX W.
9 BOWMAN 8/30/2020 | Locust Street, Milwaukee, Wisconsin, through the United States
| | Postal Service. |
vera, | snot | ole cna PUA oi a Cera A
3 | ANDERSON Bn the Unite
_— | States Postal Service.
JOEL An envelope containing a PUA debit card delivered to XXXX N.
4 BLAKE 3/28/2021 | 52nd Street, Milwaukee, Wisconsin, through the United States
| ____| Postal Service. _
. |: BYRON An envelope containing a PUA debit card delivered to XXXX W. |
CLAYPOOL 7/11/2021 | Fond Du Lac Avenue, #2, Street, Milwaukee, Wisconsin, through
| | the United States Postal Service.
An envelope containing a PUA debit card delivered to XXXX N.
. a 50/20, ET :):0ugh the United States
_|PostalServies
are a An envelope containing a PUA debit card delivered to XXXX W.
- MARCUS 11/10/2020 | Roosevelt Drive, Milwaukee, Wisconsin, through the United
MALBRO States Postal Service.
LADARIUS An envelope containing a ‘PUA debit card delivered to XXXXX W.
8 DAVIS- 8/26/2020 | Wildwood Lane, #201, Milwaukee, Wisconsin, through the
| HUGHES |__| | United States PostalService.
a An envelope containing a PUA debit card delivered to XXXX N.
9 a 3/09/2021 | is +, ough the United States
| dL Postal Service. ee _ __ _|

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LARRY

An envelope containing a PUA debit card delivered to XXXX W.

10 8/23/2020 | Kneeland Street, Milwaukee, Wisconsin, through the United
ECHOLS .
States Postal Service.
DEMETRIUS An envelope containing a PUA debit card delivered to XXXX N.
11 8/16/2020 | 40th Street, Milwaukee, Wisconsin, through the United States
EXUM
| Postal Service.
LARRY An envelope containing a PUA debit card delivered to XXXXA N.
8/19/2020 | 24th Place, Milwaukee, Wisconsin, through the United States
12 HAMILTON
Postal Service.
VERNELL An envelope containing a PUA debit card delivered to XXXX N.
9/20/2021 | 60th Street, Unit H, Milwaukee, Wisconsin, through the United
13 HAMILTON
States Postal Service.
AKEEM An envelope containing a PUA debit card delivered to XXXX N.
9/02/2020 | 58th Street, Milwaukee, Wisconsin, through the United States
14 HUDSON :
Postal Service.
CALVIN An envelope containing a PUA debit card delivered to XXXX W.
15 12/15/2020 | Hampton Avenue, Milwaukee, Wisconsin, through the United
KIDD
States Postal Service.
DEAUTRIS An envelope containing a PUA debit card delivered to XXXX N.
9/12/2021 | 74th Street, Milwaukee, Wisconsin, through the United States
16 MATTISON ;
Postal Service.
CHASE An envelope containing a PUA debit card delivered to XXXX
17 ; : 9/27/2021 | Honeysuckle Road, Hartford, Wisconsin, through the United
NANEZ ;
States Postal Service.
ANDREW An envelope containing a PUA debit card delivered to XXXX N.
8/27/2020 | Lover’s Lane, #1, Milwaukee, Wisconsin, through the United
18 PORTIS
States Postal Service.
MAURICE An envelope containing a PUA debit card delivered to XXXX N.
12/06/2021 | 18th Street, Milwaukee, Wisconsin, through the United States
19 RITTMAN ;
Postal Service.
RAMON An envelope containing a PUA debit card delivered to XXXX W.
: 8/08/2021 | Fond Du Lac Avenue, Milwaukee, Wisconsin, through the United
20 SAVAGE ;
States Postal Service. a
TIMOTHY An envelope containing a PUA debit card delivered to XXXX N.
8/26/2020 | Bourbon Street, Milwaukee, Wisconsin, through the United
21 SCOTT :
States Postal Service.
KEORIE An envelope containing a PUA debit card delivered to XXXX W.
27 SMITH 7/01/2021 | Waterford Avenue, #7, Milwaukee, Wisconsin, through the
United States Postal Service.
LAWRENCE An envelope containing a PUA debit card delivered to XXXX N.
23 TURNER 8/16/2020 | 9th Street, Milwaukee, Wisconsin, through the United States

Postal Service.

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CHAZZ

An envelope containing a PUA debit card delivered to XXXX W.

24 8/19/2020 | Northridge Court, #6, Milwaukee, Wisconsin, through the United

WHITE :

_____| States Postal Service.
JALEN An envelope containing a PUA debit card delivered to XXXX W.
12/27/2020 | Locust Street, Milwaukee, Wisconsin, through the United States
25 WILLIAMS
Postal Service.

JAQUAN An envelope containing a PUA debit card delivered to XXXX N.
26 WRIGHT 3/10/2021 | 56th Street, Milwaukee, Wisconsin, through the United States

Postal Service.

Each in violation of Title 18,

United States Code, Sections 1341 and 2(a).

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COUNT TWENTY-SEVEN

THE GRAND JURY FURTHER CHARGES THAT:
Beginning on or about March 15, 2021, and continuing until on or about April
5, 2021, within the State and Eastern District of Wisconsin, the Southern District of

Texas, and elsewhere,

RONNELL BOWMAN and
RONNIE JACKSON

did knowingly and intentionally use and conspire with each other and others, known
and unknown to the Grand Jury, to use a facility of interstate commerce, with intent
that a murder be committed, in violation of the laws of Wisconsin, as consideration
for the receipt of, and as consideration for a promise and agreement to pay, something
of pecuniary value; namely, in exchange for a payment of money, Ronnell Bowman
and Ronnie Jackson agreed with each other and others to have N.B. killed, which
arrangements depended in part upon communications over social media platforms
and by cellular telephones operating on interstate networks, and which resulted in
the death of N.B.

In violation of Title 18, United States Code, Sections 1958 and 2(a).

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COUNT TWENTY-EIGHT

THE GRAND JURY FURTHER CHARGES THAT:
On or about April 5, 2021, in the State and Eastern District of Wisconsin,
RONNELL BOWMAN and RONNIE JACKSON

knowingly used, carried, and discharged a firearm during and in relation to a crime
of violence, that is, Murder for Hire, as charged in Count Twenty-Seven of this
Indictment, causing the death of N.B. through the use ofa firearm, and which killing
was murder as defined in Title 18, United States Code, Section 1111.

In violation of Title 18, United States Code, Sections 924(c)(1)(A) (iii), 9246),

and 2(a).

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COUNT TWENTY-NINE

THE GRAND JURY FURTHER CHARGES THAT:

t Beginning in or about July of 2020 and continuing until on or about April
21, 2023, in the State and Eastern District of Wisconsin, the Southern District of

Texas, and elsewhere,

RONNELL BOWMAN,
MAURICE RITTMAN,
JAQUAN WRIGHT,
JAVONTE COTTON,
RAMON SAVAGE,
KEORIE SMITH,
ee
MICHAEL ANDERSON,
CHAZZ WHITE,
RONNIE JACKSON,
QUEVON MCKINNIE,
DEMETRIUS EXUM,
LARRY HAMILTON,
KEJUAN THOMAS, and
JALEN WILLIAMS

knowingly and willfully conspired with each other and others, known and unknown
to the Grand Jury, to commit offenses against the United States, namely:

(a) to knowingly sell and otherwise dispose of firearms to prohibited
persons, in violation of Title 18, United States Code, Sections
922(d)(1) and 2(a);

(b) to knowingly transfer firearms, knowing that such firearm would
be used to commit a crime of violence and drug trafficking crime,
in violation of Title 18, United States Code, Sections 924(h) and
2(a);

(c) to knowingly possess and transfer machineguns, in violation of
Title 18, United States Code, Sections 922(0) and 2(a); and

(d) to knowingly possess firearms by a prohibited person, in violation

of Title 18, United States Code, Sections 922(g) and 2(a).

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2. To further the conspiracy, the conspirators committed acts in the
Eastern District of Wisconsin, including but not limited to:

(a) On or about December 18, 2020, Javonte Cotton sent a message
to Ronnell Bowman asking to “swap” his Glock firearm and stated that,
“we just found six more switches,” meaning machineguns.

All in violation of Title 18, United States Code, Sections 371 and 2(a).

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COUNT THIRTY

THE GRAND JURY FURTHER CHARGES THAT:
On or about December 18, 2020, in the State and Eastern District of Wisconsin,
MAURICE RITTMAN,

knowing that he previously had been convicted of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed firearms, namely,
a loaded Draco AK style 7.62x3 9mm pistol bearing serial number PE-6274-2018 and
a loaded Cobray MAC-11 9mm pistol with an obliterated serial number, which, prior
to his possession of each, had been transported in interstate and foreign commerce,
the possession of which was therefore in and affecting commerce.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

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COUNT THIRTY-ONE

THE GRAND JURY FURTHER CHARGES THAT:

On or about September 29, 2021, in the State and Eastern District of
Wisconsin,

JAQUAN WRIGHT,

knowing that he previously had been convicted of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed a black Romarm
Cugir model DRACO, 7.62X39 caliber AK-47 style pistol, bearing serial number DB-
9411-18 which, prior to his possession of it, had been transported in interstate and
foreign commerce, the possession of which was therefore in and affecting commerce.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

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COUNT THIRTY-TWO
THE GRAND JURY FURTHER CHARGES THAT:
On or about May 17, 2022, in the State and Eastern District of Wisconsin,
JAVONTE COTTON,

knowing that he previously had been convicted of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed a Glock model 22,
.40 caliber handgun, bearing serial number EUC995US, which prior to his possession
of it, had been transported in interstate and foreign commerce, the possession of
which was therefore in and affecting commerce.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

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COUNT THIRTY-THREE

THE GRAND JURY FURTHER CHARGES THAT:
On or about May 17, 2022, in the State and Eastern District of Wisconsin,
JAVONTE COTTON
knowingly and intentionally possessed with intent to distribute a mixture and
substance containing a detectable amount of cocaine, a Schedule II controlled
substance; and a mixture and substance containing a detectable amount of
marijuana, a Schedule I controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C),

and 841(b)(1)(D).

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COUNT THIRTY-FOUR

THE GRAND JURY FURTHER CHARGES THAT:
On or about May 17, 2022, in the State and Eastern District of Wisconsin,
JAVONTE COTTON
knowingly possessed a firearm in furtherance of the drug trafficking crime charged
in Count Thirty-Three of this Indictment.

In violation of Title 18, United States Code, Section 924(c)(1)(A)().

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COUNT THIRTY-FIVE

THE GRAND JURY FURTHER CHARGES THAT:
On or about July 16, 2022, in the State and Eastern District of Wisconsin,
RAMON SAVAGE,

knowing that he previously had been convicted of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed a loaded Glock
model 17, 9mm handgun, bearing serial number BNBP264, with a 30-round extended
magazine, which, prior to his possession of it, had been transported in interstate and
foreign commerce, the possession of which was therefore in and affecting commerce.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

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COUNT THIRTY-SIX

THE GRAND JURY FURTHER CHARGES THAT:
On or about July 18, 2022, in the State and Eastern District of Wisconsin,
KEORIE SMITH,

knowing that he previously had been convicted of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed a Glock 29, 9mm
handgun, bearing serial number XUW802, which, prior to his possession of it, had
been transported in interstate and foreign commerce, the possession of which was
therefore in and affecting commerce.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

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COUNT THIRTY-SEVEN

THE GRAND JURY FURTHER CHARGES THAT:

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COUNT THIRTY-EIGHT

THE GRAND JURY FURTHER CHARGES THAT:
On or about September 13, 2022, in the State and Eastern District of
Wisconsin,
MICHAEL ANDERSON,
who was then a fugitive from justice, willfully received a firearm that had been
transported in interstate commerce, that is, a loaded Glock model 17 9mm handgun,
bearing serial number ZYF969, with an extended magazine.

In violation of Title 18, United States Code, Sections 922(g)(2) and 924(a)(8).

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COUNT THIRTY-NINE

THE GRAND JURY FURTHER CHARGES THAT:
On or about December 19, 2022, in the State and Eastern District of Wisconsin,
CHAZZ WHITE,

knowing that he previously had been convicted of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed firearms, namely,
a Mossberg MC20 9mm pistol, bearing serial number 006751MC; and a Taurus PT
111 Millennium G2 handgun, bearing serial number TKW03923, which, prior to his
possession of each, had been transported in interstate and foreign commerce, the

possession of which was therefore in and affecting commerce.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

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COUNT FORTY

THE GRAND JURY FURTHER CHARGES THAT:
On or about December 19, 2022, in the State and Eastern District of Wisconsin,
CHAZZ WHITE
knowingly and intentionally possessed with the intent to distribute a mixture and
substance containing a detectable amount of cocaine, a Schedule JJ controlled

substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

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COUNT FORTY-ONE

THE GRAND JURY FURTHER CHARGES THAT:
On or about December 19, 2022, in the State and Eastern District of Wisconsin,
CHAZZ WHITE
knowingly possessed firearms in furtherance of the drug trafficking crime charged in
Count Forty of this Indictment.

In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

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COUNT FORTY-TWO

THE GRAND JURY FURTHER CHARGES THAT:
On or about April 20, 2023, in the State and Eastern District of Wisconsin,
QUEVON MCKINNIE,
knowing that he previously had been convicted of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed a firearm, namely,
a Glock 27 Gen4 .40 caliber handgun, bearing serial number SUR275, which prior to
his possession of it, had been transported in interstate and foreign commerce, the

possession of which was therefore in and affecting commerce.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

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COUNT FORTY-THREE

THE GRAND JURY FURTHER CHARGES THAT:
On or about April 21, 2023, in the State and Eastern District of Wisconsin,
KEORIE SMITH,

knowing that he previously had been convicted of a crime punishable by
imprisonment for a term exceeding one year, knowingly possessed a firearm, namely,
a Glock 27 .40 caliber handgun, bearing serial number RFY004, with an extended
magazine, which prior to his possession of it, had been transported in interstate and
foreign commerce, the possession of which was therefore in and affecting commerce.

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

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FORFEITURE NOTICE

1. Upon conviction of the mail fraud conspiracy, as set forth in Count One
of this Indictment, in violation of Title 18, United States Code, Section 1349, or mail
fraud, as set forth in Counts Two through Twenty Six of this Indictment, the
defendants shall forfeit to the United States of America, pursuant to Title 18, United
States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c),
any property, real or personal, which constitutes or is derived from proceeds traceable
to the offense or offenses, including, but not limited to a sum of money equal to the
proceeds derived from the offenses.

2. Upon conviction of the firearms offenses in violation of Title 18, United
States Code, Sections 922(g)(1), 922(g)(2), 922(0), and 924(c) set forth in Counts
Twenty-Eight, Thirty through Thirty-Two, Thirty-Four through Thirty-Nine, and
Forty-One through Forty-Three of this Indictment, the defendants shall forfeit to the
United States pursuant to Title 18, United States Code, Section 924(d) and Title 28,
United States Code, Section 2461(c), any firearms and ammunition involved in the
offenses, including, but not limited to:

a. a loaded Draco AK style 7.62x3 9mm pistol bearing serial number PE-
6274-2018;

b. a loaded Cobray MAC-11 9mm pistol with an obliterated serial number;

c. a black Romarm Cugir model DRACO, 7.62x39 caliber AK-47 style
pistol, bearing serial number DB-9411-18;

d. a Glock model 22, .40 caliber handgun, bearing serial number

EUC995US,

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e. a loaded Glock model 17, 9mm handgun, bearing serial number
BNBP264, with a 30-round extended magazine:
f. a Glock 29, 9mm handgun bearing serial number XUW802;
g. a Glock model 19X, 9mm handgun, bearing serial number AFBK451,
with a machinegun conversion device;
h. a loaded model 17 9mm Glock handgun bearing serial number ZYF969,
with an extended magazine;
i. a Mossberg MC20 9mm pistol, bearing serial number 006751MC;
j. a Taurus PT 111 Millennium G2 handgun, bearing serial number
TKW03923;
k. a Glock, 27 Gen4 .40 caliber handgun, bearing serial number SUR275;
and
l. a Glock 27 .40 caliber handgun, bearing serial number RFY004, with an
extended magazine.
3. Upon conviction of the controlled substance offenses in violation of Title
21, United States Code, Section 841 set forth in Counts Thirty-Three and Forty of
this Indictment, the defendants shall forfeit to the United States pursuant to Title
21, United States Code, Section 853, any and all property constituting, or derived
from, proceeds obtained, directly or indirectly, as a result of the violations and any
and all property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of the offense, including but not limited to a sum of money

representing the amount of proceeds obtained as a result of the offenses.

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4, If any of the property described above, as a result of any act or omission
by a defendant: cannot be located upon the exercise of due diligence; has been
transferred or sold to, or deposited with, a third person; has been placed beyond the
jurisdiction of the Court; has been substantially diminished in value; or has been
commingled with other property which cannot be subdivided without difficulty, the
United States of America shall be entitled to forfeiture of substitute property,
pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 28,

United States Code, Section 2461(c).

Dated: 4-25-25

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—~ GREGORY J.
United States A

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